                Case 5:22-mj-01148-HNJ
    Case 9:22-cr-80173-AMC    Document 19Document
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                                                             Docket 12/02/2022
                                                                                                                      2022 Nov-15 PM 05:14
AO 94 (Rev. 06/09) Commitment to Another District                                                                     U.S. DISTRICT COURT
                                                                                                                          N.D. OF ALABAMA


                                     UNITED STATES DISTRICT COURT                                                          MM

                                                                    for the                                          Dec 2, 2022
                                                     Northern District of Alabama
                                                                                                                             Miami


                  United States of America                            )
                             v.                                       )
                                                                      )       Case No.   5:22-mj-1148-HNJ
                                                                      )
                  William Michael Spearman                            )          Charging District
                           Defendant                                  )          Case No.       22-mj-8510-WM

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                     Southern      District of         Florida         ,
(if applicable)                                     division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:             will retain an attorney.
                                     is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

        IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

         DONE this 15th day of November, 2022.




                                                                    ____________________________________
                                                                    HERMAN N. JOHNSON, JR.
                                                                    UNITED STATES MAGISTRATE JUDGE
            Case 5:22-mj-01148-HNJ
Case 9:22-cr-80173-AMC    Document 19Document
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                                                         Docket 12/02/2022
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                                                                                                                                               U.S. DISTRICT COURT
                                                                                                                                                   N.D. OF ALABAMA


                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ALABAMA
                                       NORTHEASTERN DIVISION

   UNITED STATES OF AMERICA }
                            }
   v.                       }                                                      Case No. 5:22-mj-1148-HNJ
                            }                                                      FLSD Case No. 22-mj-8510-WM
   WILLIAM MICHAEL SPEARMAN }

                     ORDER OF TEMPORARY DETENTION
               PENDING HEARING PURSUANT TO BAIL REFORM ACT

             Upon the motion of the United States, it is ORDERED that a detention hearing

  is set for Thursday, November 10, 2022, at 10:30 a.m. before the undersigned at the

  United States Courthouse, 101 Holmes Avenue, N.E., Huntsville, Alabama. Pending

  this hearing, the defendant shall be held in custody by the United States Marshal and

  produced for the hearing.

             DONE, this 3rd day of November, 2022.




                                                                      _________________________________
                                                                      HERMAN N. JOHNSON, JR.
                                                                      UNITED STATES MAGISTRATE JUDGE




            *If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon the motion of
  the Government, or up to five days upon motion of the defendant. 18 U.S.C.§3142(f)(2).
             A hearing is required whenever the conditions set forth in 18 U.S.C.§3142(f) are present. Subsection (1) sets forth the grounds that
  may be asserted only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for
  the Government or upon the judicial officer's own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt
  to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
            Case 5:22-mj-01148-HNJ
Case 9:22-cr-80173-AMC    Document 19Document
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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

  UNITED STATES OF AMERICA                   }
                                             }
  v.                                         }   Case No. 5:22-mj-1148-HNJ
                                             }
  WILLIAM MICHAEL SPEARMAN                   }

                                       ORDER

         Pursuant to notification from the Federal Public Defender’s Office,

  accompanied by a financial affidavit executed by Defendant William Michael Spearman

  (Sealed Doc. 3), the Court hereby appoints the Federal Public Defender to represent

  defendant for the limited purpose of the proceedings in the Northern District of

  Alabama.

         Upon defendant’s transfer, the United States District Court for the Southern

  District of Florida will determine whether defendant qualifies for the appointment of

  counsel based upon further evaluation.

         DONE, this 8th day of November, 2022.




                                           ___________________________________
                                           HERMAN N. JOHNSON, JR.
                                           UNITED STATES MAGISTRATE JUDGE
            Case 5:22-mj-01148-HNJ
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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA
                Case 5:22-mj-01148-HNJ
    Case 9:22-cr-80173-AMC    Document 19Document
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                                                                                                                    U.S. DISTRICT COURT
AO 472 (Rev. 11/16) Order of Detention Pending Trial
                                                                                                                        N.D. OF ALABAMA


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Northern District of Alabama

                   United States of America                             )
                              v.                                        )
                                                                        )     Case No. 5:22-mj-1148-HNJ
                  William Michael Spearman                              )     Charging District No. 22-mj-8510-WM
                              Defendant                                 )

                                       ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

      Upon the

                   Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                   Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

      A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
             (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                   (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                   § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                   (b) an offense for which the maximum sentence is life imprisonment or death; or
                   (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                   Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                   (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                   (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                   (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                   described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                   jurisdiction had existed, or a combination of such offenses; or
                   (e) any felony that is not otherwise a crime of violence but involves:
                   (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                   (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
             (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
             § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
             to Federal jurisdiction had existed; and
             (3) the offense described in paragraph (2) above for which the defendant has been convicted was
             committed while the defendant was on release pending trial for a Federal, State, or local offense; and
             (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
             defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.
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AO 472 (Rev. 11/16) Order of Detention Pending Trial

      B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
             (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
             (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
             (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
             or more is prescribed;
             (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
             imprisonment of 20 years or more is prescribed; or
             (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
             2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260, 2421, 2422, 2423, or 2425.

      C. Conclusions Regarding Applicability of Any Presumption Established Above

               The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
               ordered on that basis. (Part III need not be completed.)
               OR
               The defendant has presented evidence sufficient to rebut the presumption, but after considering the
               presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

      By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
      the safety of any other person and the community.

      By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

           Weight of evidence against the defendant is strong
           Subject to lengthy period of incarceration if convicted
           Prior criminal history
           Participation in criminal activity while on probation, parole, or supervision
           History of violence or use of weapons
           History of alcohol or substance abuse
           Lack of stable employment
           Lack of stable residence
           Lack of financially responsible sureties
           Lack of significant community or family ties to this district
                                                                                                                     Page 2 of 3
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AO 472 (Rev. 11/16) Order of Detention Pending Trial

           Significant family or other ties outside the United States
           Lack of legal status in the United States
           Subject to removal or deportation after serving any period of incarceration
           Prior failure to appear in court as ordered
           Prior attempt(s) to evade law enforcement
           Use of alias(es) or false documents
           Background information unknown or unverified
           Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:




                                                Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.

      DONE, this 15th day of November, 2022.




                                                                ____________________________________
                                                                HERMAN N. JOHNSON, JR.
                                                                UNITED STATES MAGISTRATE JUDGE




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            Case 5:22-mj-01148-HNJ
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                                                         Docket 12/02/2022
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                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION

 UNITED STATES OF AMERICA                    }
                                             }
 v.                                          } Case No. 5:22-mj-1148-HNJ
                                             } Charging District No. 22-mj-8510-WM
 WILLIAM MICHAEL SPEARMAN                    }

                                ORDER OF REMOVAL

         On November 3, 2022, an initial appearance was held before the undersigned

  magistrate judge for Defendant William Michael Spearman. Defendant was arrested in

  the Northern District of Alabama on an arrest warrant pursuant to a Complaint filed in

  the United States District Court for the Southern District of Florida.

         Pursuant to the provisions of Rule 32.1(a)(5)(B), Fed.R.Crim.P., the defendant

  was presented to the United States Magistrate Judge and advised of his constitutional

  rights pursuant to Rule 5, Fed.R.Crim.P. Deanna Oswald of the Federal Public

  Defender’s Office was present to advise defendant if needed, though not appointed as

  counsel for defendant. (See Doc. 4). The defendant requested an identity, preliminary

  and detention hearing in the Northern District of Alabama.

         Prior to the hearings, the defendant requested appointment of counsel. The

  court appointed the Federal Public Defender to represent the defendant for the

  proceedings in this district only, with the United States District Court for the Southern

  District of Florida reserving authority to determine whether the defendant is ultimately

  entitled to court-appointed counsel.
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                                                         Docket 12/02/2022




         On November 10, 2022, the defendant appeared back before the court, but after

   conferring with counsel, advised the court of his desire to waive his identity and

   preliminary hearings, and proceed with the detention hearing, where he was

   subsequently detained. (See Doc. 6).

         Therefore, it is ORDERED that the defendant be held to answer the charges

   pending in the United States District Court for the Southern District of Florida, and

   that he be REMOVED FORTHWITH to that district.

         DONE and ORDERED, this 15th day of November, 2022.




                                          _________________________________
                                          HERMAN N. JOHNSON, JR.
                                          UNITED STATES MAGISTRATE JUDGE
CM/ECF - U.S. District Court Northern District of Alabama                https://alnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?906088742433766-L_1_0-1
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                                              U.S. District Court
                                  Northern District of Alabama (Northeastern)
                             CRIMINAL DOCKET FOR CASE #: 5:22-mj-01148-HNJ-1


         Case title: USA v. Spearman                                            Date Filed: 11/03/2022

         Other court case number: 22-mj-8510-WM Southern District of            Date Terminated: 11/15/2022
                                  Florida


         Assigned to: Magistrate Judge Herman N
         Johnson, Jr

         Defendant (1)
         William Michael Spearman                             represented by Deanna L Oswald
         TERMINATED: 11/15/2022                                              OFFICE OF THE FEDERAL PUBLIC
                                                                             DEFENDER
                                                                             200 Clinton Avenue West Suite 503
                                                                             Huntsville, Al 35801
                                                                             205-208-7170
                                                                             Fax: 256-519-5948
                                                                             Email: Deanna_Oswald@fd.org
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Public Defender or
                                                                             Community Defender Appointment

                                                                                  Kevin L Butler
                                                                                  FEDERAL PUBLIC DEFENDER
                                                                                  Northern District of Alabama
                                                                                  505 20th Street North, Suite 1425
                                                                                  Birmingham, AL 35203
                                                                                  205-208-7170
                                                                                  Email: ALNFD_Notice@fd.org
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
                                                                                  Designation: Public Defender or
                                                                                  Community Defender Appointment

         Pending Counts                                                           Disposition
         None

         Highest Offense Level (Opening)
         None


1 of 4                                                                                                                  12/2/2022, 3:42 PM
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         Terminated Counts                                                 Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                        Disposition
         18:2252A.F



         Plaintiff
         USA                                                represented by Prim F. Escalona, US Attorney
                                                                           US ATTORNEY'S OFFICE
                                                                           1801 4th Avenue North
                                                                           Birmingham, AL 35203-2101
                                                                           244-2001
                                                                           Email: Caseview.ecf@usdoj.gov
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: Retained

                                                                           US Probation
                                                                           UNITED STATES PROBATION OFFICE
                                                                           Robert Vance Bldg.
                                                                           1800 5th Avenue North
                                                                           Birmingham, AL 35203
                                                                           205-716-2900
                                                                           Email: alnpdb_cmecf@alnp.uscourts.gov
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: Retained

                                                                           USM
                                                                           UNITED STATES MARSHAL
                                                                           Hugo Black Courthouse, Room 240
                                                                           1729 5th Avenue North
                                                                           Birmingham, AL 35203
                                                                           205-731-1712
                                                                           Email: usms-aln-courts@usdoj.gov
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: Retained

                                                                           Robin Leann White
                                                                           UNITED STATES ATTORNEYS OFFICE
                                                                           400 Meridian Street Suite 304
                                                                           Huntsville, AL 35801


2 of 4                                                                                                            12/2/2022, 3:42 PM
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            Case 9:22-cr-80173-AMC Document 19 Entered on FLSD Docket 12/02/2022 Page 12 of 13

                                                                                256-534-8285
                                                                                Fax: 256-539-3270
                                                                                Email: leann.white@usdoj.gov
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED
                                                                                Designation: Retained

                                Select
          Date Filed         # all / clear Docket Text

          11/03/2022                       Arrest (Rule 40) of William Michael Spearman (SHB) (Entered: 11/03/2022)
          11/03/2022        1              RULE 40 Warrant and Complaint by USA from Southern District of Florida as
                                           to William Michael Spearman (SHB) (Entered: 11/03/2022)
          11/03/2022                       Minute Entry for proceedings held before Magistrate Judge Herman N
                                           Johnson, Jr: Initial Appearance in Rule 5(c)(3) Proceedings as to William
                                           Michael Spearman held on 11/3/2022; charges and rights explained; dft advised
                                           that he would retain counsel; AUSA Pillsbury present for govt; USPO King
                                           present; govt apprised of discovery obligations - acknowledgment of same;
                                           govt requested detention; Detention, Identity and Preliminary Hearing set for
                                           11/10/2022 at 10:30 AM in Federal Courthouse, Huntsville, AL before
                                           Magistrate Judge Herman N Johnson Jr.; dft remanded to custody of USM; hrg
                                           adj. (Tape #DCR) (SHB) (Entered: 11/03/2022)
          11/03/2022        2              ORDER OF TEMPORARY DETENTION as to William Michael Spearman.
                                           Signed by Magistrate Judge Herman N Johnson, Jr on 11/3/2022. (SHB)
                                           (Entered: 11/03/2022)
          11/08/2022        4              ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to William
                                           Michael Spearman for the limited purpose of the proceedings in the Northern
                                           District of Alabama. Upon defendant's transfer, the U.S. District Court for the
                                           Southern District of Florida will determine whether defendant qualifies for the
                                           appointment of counsel based upon further evaluation. Signed by Magistrate
                                           Judge Herman N Johnson, Jr on 11/8/2022. (SHB) (Entered: 11/08/2022)
          11/10/2022                       Minute Entry for proceedings held before Magistrate Judge Herman N
                                           Johnson, Jr:Identity, Preliminary and Detention Hearing held on 11/10/2022;
                                           Deanna Oswald present for dft; Leann White present for govt; USPO Ethan
                                           King present; dft wvd identity and preliminary hrgs; govt advises court that
                                           rebuttable presumption applies; examination of govt and defense witnesses;
                                           argument presented; court finds that govt has sustained its burden w/ regard to
                                           danger to community and risk of flight and orders dft detained pending
                                           disposition of case; dft reminded of Rule 20 provisions and that appointment of
                                           counsel in SDFL will be addressed upon dft's arrival in the district; dft
                                           remanded to custody of USM; hrg adj. (Court Reporter Christina Decker)
                                           (SHB) (Entered: 11/14/2022)
          11/10/2022        5              WAIVER of Rule 5 Hearings (Identity and Preliminary) by William Michael
                                           Spearman. (SHB) (Entered: 11/14/2022)
          11/15/2022        6              ORDER OF DETENTION as to William Michael Spearman. Signed by
                                           Magistrate Judge Herman N Johnson, Jr on 11/15/2022. (SHB) (Entered:
                                           11/15/2022)


3 of 4                                                                                                                 12/2/2022, 3:42 PM
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              Case 9:22-cr-80173-AMC Document 19 Entered on FLSD Docket 12/02/2022 Page 13 of 13

          11/15/2022        7              COMMITMENT TO ANOTHER DISTRICT as to William Michael Spearman.
                                           Defendant committed to Southern District of Florida. Signed by Magistrate
                                           Judge Herman N Johnson, Jr on 11/15/2022. (SHB) (Entered: 11/15/2022)
          11/15/2022        8              ORDER OF Rule 40 Transfer to Another District - Southern District of Florida
                                           as to William Michael Spearman. Signed by Magistrate Judge Herman N
                                           Johnson, Jr on 11/15/2022. (SHB) (Entered: 11/15/2022)

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         or
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